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                        EXHIBIT 1


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 1                   UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3                       SAN FRANCISCO DIVISION
 4
      ___________________________________
 5    WAYMO LLC,                                      )
 6                      Plaintiff,                    )
 7        vs.                                         ) Case No.
 8    UBER TECHNOLOGIES, INC.;                        ) 17-cv-00939-WHA
 9    OTTOMOTTO, LLC; OTTO TRUCKING LLC, )
10                    Defendants.                     )
      ___________________________________)
11
12            HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
13
14            VIDEOTAPED DEPOSITION OF MICHAEL J. WAGNER
15                      San Francisco, California
16                    Friday, September 22, 2017
17                                Volume I
18
19
20    Reported by:
21    MARY J. GOFF
22    CSR No. 13427
23    Job No. 2714429
24
25    PAGES 1-145

                                                                   Page 1

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 1         UNITED STATES DISTRICT COURT                             1   APPEARANCES CONTINUED:
 2         NORTHERN DISTRICT OF CALIFORNIA                          2
 3          SAN FRANCISCO DIVISION                                  3   For Defendants Uber and Ottomotto
 4                                                                  4      Morrison & Foerster LLP
 5 ___________________________________                              5      BY: RACHEL S. DOLPHIN
 6 WAYMO LLC,                     )                                 6      Attorney at Law
 7          Plaintiff,    )                                         7      425 Market Street
 8   vs.                 ) Case No.                                 8      33rd Floor
 9 UBER TECHNOLOGIES, INC.;               ) 17-cv-00939-WHA         9      San Francisco, California 94105
10 OTTOMOTTO, LLC; OTTO TRUCKING LLC, )                            10      rdolphin@mofo.com
11         Defendants.        )                                    11      415-268-7263
12 ___________________________________)                            12
13                                                                 13   For Defendant Otto Trucking LLC
14          HIGHLY CONFIDENTIAL                                    14      Goodwin Procter LLP
15                                                                 15      BY: BRETT SCHUMAN
16    Videotaped Deposition of MICHAEL J. WAGNER,                  16      Attorney at Law
17    Volume I, taken on behalf of Defendants,                     17      Three Embarcadero Center
18    at Morrison & Foerster, 425 market Street,                   18      San Francisco, California 94111
19    33rd Floor, San Francisco, beginning at                      19      bschuman@goodwinlaw.com
20    9:34 a.m. and ending at 12:30 p.m., on                       20      415-733-6021
21    September 22, 2017, before MARY GOFF, Certified              21
22    Shorthand Reporter No. 13427.                                22   Also Present
23                                                                 23      Kevin Foor, Videographer
24                                                                 24
25                                                                 25
                                                          Page 2                                                      Page 4

 1 APPEARANCES:                                                     1             INDEX
 2                                                                  2
 3 For Plaintiff                                                    3   WITNESS                      EXAMINATION
 4    Quinn Emanuel Urquhart & Sullivan, LLP                        4   MICHAEL J. WAGNER
 5    BY: DAVID EISEMAN                                             5   Volume I
 6    Attorneys at Law                                              6     BY MR. BERRY                     7, 142
 7    50 California Street                                          7     BY MR. SCHUMAN                        126
 8    22nd Floor                                                    8
 9    San Francisco, California 94111                               9
10    davideiseman@quinnemanuel.com                                10               EXHIBITS
11    415-875-6600                                                 11   NUMBER            DESCRIPTION               PAGES
12                                                                 12   Exhibit 2271 Expert Report of             18
13 For Defendant Uber                                              13            Michael J. Wagner, 8/24/17
14    Susman Godfrey LLP                                           14   Exhibit 2272 Expert Reply Report of          18
15    BY: MATTHEW R. BERRY                                         15            Michael J. Wagner, 9/14/17, Vol A
16    Attorney at Law                                              16   Exhibit 2273 Project Rubicon, 2019           52
17    1201 Third Avenue                                            17            Volume Recommendation, 5/20/16
18    Suite 3800                                                   18   Exhibit 2274 Defendants' Second Supplemental 91
19    Seattle, Washington 98101                                    19            Responses to Waymo's First Set of
20    mberry@susmangodfrey.com                                     20            Common Interrogatories Nos. 1-3
21    206-373-7394                                                 21   Exhibit 2275 Kit for OTR Trucking Market        98
22                                                                 22
23                                                                 23   PREVIOUSLY MARKED EXHIBITS:
24                                                                 24   Exhibit 299 NewCo Review, Qi Exhibit 299         69
25                                                                 25
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               HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
 1               San Francisco, California                                                            1         When were you first retained?                    09:36:35
 2              Friday, September 22, 2017                                                            2     A    Well, I was first contacted on June 13 of          09:36:37
 3                     9:34 a.m.                                                                      3 2017, to run conflicts to see if I could be               09:36:41
 4            THE VIDEOGRAPHER: Good morning. We are                                                  4 considered as an expert for Waymo.                         09:36:45
 5 going on the record at 9:34, on September 22 of the                                 09:34:29       5         I -- then I had a more substantive             09:36:48
 6 Year 2017. Please understand microphones are very                                    09:34:35      6 conversation on June 15. I don't think I was                09:36:50
 7 sensitive, and they may pick up whispering ad                                     09:34:42         7 retained at that point, because I was told they were           09:36:54
 8 private conversations and cellular interference.                                 09:34:44          8 still considering another expert besides me. And               09:36:56
 9            Please turn off your cell phones or place                           09:34:49            9 then I think shortly after that I was retained, but         09:36:59
10 them away from the microphones, as they may                                         09:34:51      10 I can't give you the date.                          09:37:02
11 interfere with the audio. Audio and video recording                                 09:34:54      11     Q    Within days?                            09:37:03
12 will continue to take place unless all parties agree                             09:34:57         12     A    Within days.                           09:37:04
13 to go off of the record.                                            09:35:01                      13     Q    Who retained you?                           09:37:05
14            This is Disc 1, Volume I in the video                              09:35:03            14     A    The -- the law firm of Quinn Emanuel.               09:37:09
15 deposition of Michael J. Wagner, taken by counsel                                   09:35:06      15     Q    And, sir, when you did you start work in            09:37:11
16 for Defendants in the matter of Waymo LLC v. Uber                                        09:35:10 16 this case?                                    09:37:14
17 Technologies. It's filed in the United States                                  09:35:16           17     A    I would say I probably didn't do much in            09:37:14
18 District Court, for the Northern District of                                   09:35:19           18 the way of substantive work until July of this year.           09:37:17
19 California, Case No. 17-cv-00939-WHA.                                             09:35:21        19     Q    And, sir, your hourly rate is 895 an hour;         09:37:23
20            This is being taken at Morrison &                                  09:35:29            20 is that right?                                09:37:27
21 Foerster. They're at 425 Market Street in                                      09:35:31           21     A    Yes.                                 09:37:28
22 San Francisco. My name is Kevin Foor, and I am here                                      09:35:35 22     Q    And is it also correct that you receive a         09:37:28
23 with Mary Goff-Sharma, and we are from Veritext.                                     09:35:40 23 portion of Litinomics' revenues?                             09:37:31
24 I'm not related to any party nor am I financially                                09:35:45         24     A    For other professionals that bill time to         09:37:33
25 interested in the outcome in any way.                                          09:35:49       25 this project, depending on their level, I get a                09:37:35
                                                                                          Page 6                                                                          Page 8

 1         Counsel and -- and all present in the           09:35:52                                   1 percentage of what they charge and we collect.                 09:37:38
 2 room, everyone attending remotely will now state                 09:35:54                          2     Q   And, sir, how many individuals at                 09:37:40
 3 their appearances for the record, please                 09:35 58                                  3 Litinomics have billed time to this matter?                09:37:42
 4         MR BERRY: Matt Berry from Susman Godfrey                    09:36 01                       4     A   Eight.                                09:37:45
 5 on behalf of Uber                                  09:36:03                                        5     Q   How many hours total have you billed?                  09:37:49
 6         MS DOLPHIN: Rachel Dolphin, Morrison &                    09:36:04                         6     A   Through our last bill, which is                09:37:52
 7 Foerster, on behalf of Uber and Ottomotto                     09:36:05                             7 September 15, I have billed 64 hours.                     09:37:54
 8         MR SCHUMAN: Brett Schuman, from Goodwin                      09:36 09                      8     Q   That -- those hours run through                  09:38:01
 9 Procter, on behalf of Otto Trucking LLC                       09:36:09                             9 September 15?                                    09:38:03
10         MR EISEMAN: David Eiseman, from Quinn                      09:36:12                       10     A   Through September 15.                         09:38:04
11 Emanuel, on behalf of Plaintiff Waymo                         09:36:13                            11     Q   What about the eight others at Litinomics?             09:38:07
12             MICHAEL J WAGNER,                            09:36:16                                 12 How many hours have they billed total?                      09:38:12
13 being first duly sworn or affirmed to testify to the          09:36:16                            13     A   Well, the total billing through that date         09:38:14
14 truth, the whole truth, and nothing but the truth,            09:36:16                            14 is 1,189.4 hours. So subtract 64 from that, and              09:38:16
15 was examined and testified as follows:                    09:36:16                                15 that's the others.                             09:38:24
16                                         09:36:16                                                  16     Q   And what are the billing rates for the            09:38:25
17     EXAMINATION BY COUNSEL FOR THE DEFENDANTS                                    09:36:16         17 others? What's -- what's the range there?                  09:38:27
18 BY MR BERRY:                                         09:36:25                                     18     A   You know, I would say the senior-most                  09:38:30
19     Q    Good morning, sir                          09:36:26                                      19 person that billed time besides me is around 550 an             09:38:33
20     A    Good morning                               09:36:26                                      20 hour, and probably the cheapest is about $175 an                09:38:36
21     Q    Could you please state your name?                09:36:27                                21 hour.                                      09:38:41
22     A    Michael Joseph Wagner                         09:36:29                                   22     Q   Sir, what's the total dollar value of the         09:38:41
23     Q    I would like to talk to you first about        09:36:30                                  23 billing in this case?                           09:38:44
24 when you were retained, some of the details about               09:36:33                          24     A   $418,437.                              09:38:45
25 your retention here                                09:36:34                                       25     Q   Sir, is this the first time that you have        09:38:56
                                                                                            Page 7                                                                           Page 9

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 1 been retained by Quinn Emanuel?                                     09:38:58             1 And I believe the award in the case was 900 million.              09:41:01
 2      A     No.                                    09:39:00                               2     Q   And who was your client in that case or --             09:41:08
 3      Q     How many times have you been?                              09:39:01           3     A   That's --                               09:41:11
 4      A     You know, I -- I -- I have been in this                 09:39:03              4     Q   -- which side were you on?                        09:41:11
 5 business for 40 years. You know, I would say I have                        09:39:04      5     A   -- I was on the Plaintiff's side --            09:41:12
 6 probably done 10 to 12 cases with Quinn Emanuel.                           09:39:07      6     Q   Okay.                                   09:41:14
 7      Q     What about -- have you been retained by                     09:39:11          7     A   -- and -- like, I can remember the venue             09:41:14
 8 Google before?                                           09:39:13                        8 was in Oregon. And you can probably find it on my                    09:41:18
 9      A     Yes.                                   09:39:13                               9 CV. And if you showed me on -- my CV, I could find                    09:41:23
10      Q     How many times?                                  09:39:14                    10 it for you.                                    09:41:24
11      A     One -- I know for sure once. I think                    09:39:14             11     Q   And, sir, you testified at trial in that          09:41:25
12 twice.                                           09:39:23                               12 case?                                         09:41:28
13      Q     And, sir, do you have a deposition                      09:39:24             13     A   I did.                                 09:41:29
14 scheduled for tomorrow?                                      09:39:26                   14     Q   And the award, you said, was how much?                   09:41:30
15      A     No. I have a deposition scheduled for                    09:39:28            15     A   I think it was -- I think -- my                09:41:31
16 Monday, Tuesday, and Friday of next week.                               09:39:30        16 recollection was 900 million.                          09:41:32
17      Q     And where is the deposition on Monday?                       09:39:33        17     Q   And, sir, you have had your opinions                 09:41:36
18      A     I don't know the location yet. I'm hoping                 09:39:35           18 excluded by courts in past cases; is that correct?             09:41:43
19 it's the Bay Area, but it may be Texas. I still                     09:39:37            19     A   I have had -- in -- in one case in my              09:41:47
20 haven't been told.                                      09:39:42                        20 career I was completely excluded. I have a number                 09:41:48
21      Q     And would you have been available to sit                    09:39:43         21 of the cases where some portions of my work were not                 09:41:51
22 for a deposition tomorrow?                                   09:39:46                   22 permitted to be introduced at trial.                      09:41:54
23      A     It's possible I could have set tomorrow.                 09:39:48            23     Q   In which case was it completely excluded?               09:41:56
24      Q     Sir, are you submitting a Declaration in                  09:39:51           24 Were you completely excluded?                               09:41:59
25 support of Waymo's opposition to the Daubert motion                           09:39:53 25      A   Intellectual Ventures versus Xilinx.                09:41:59
                                                                                 Page 10                                                                         Page 12

 1 against you?                                  09:39:57                                   1     Q   In Delaware?                                09:42:02
 2     A     No one has asked me to do that                 09:39:58                        2     A   Yes. In front of Judge Stark.                    09:42:03
 3     Q     You have no plan to do so?                    09:40:00                         3     Q   And then in other cases, certain of your             09:42:08
 4     A     Well, I think it's due today And I think        09:40:01                       4 opinions have been excluded, but not all; is that              09:42:11
 5 you're going to monopolize most of my day, so I                 09:40 04                 5 fair?                                      09:42:14
 6 would say probably not                               09:40:07                            6     A   Correct. Yes, that's -- that's fair.           09:42:15
 7     Q     You -- you have not been asked to do --           09:40:08                     7     Q   And how many cases would that be?                      09:42:16
 8     A     I --                              09:40:09                                     8     A   I -- I want to say nine or 10.                 09:42:18
 9     Q     -- so?                             09:40:09                                    9     Q   When was the most recent one?                       09:42:21
10     A     -- I have not been asked                   09:40:10                           10     A   I -- I -- I have no recollection of that.         09:42:22
11     Q     Sir, how many cases have you worked on                09:40:20                11     Q   Was it recently?                            09:42:26
12 where you have provided a damages model in excess of                09:40:22            12     A   You know, probably in the last couple of               09:42:32
13 $1 billion?                                  09:40:25                                   13 years, but I -- I really don't have any recollection           09:42:33
14     A     Probably two other cases                     09:40:30                         14 when the last one was.                               09:42:36
15     Q     What were those cases?                       09:40:32                         15     Q   Sir, had you had an opinion excluded for               09:42:38
16     A     One was the Apple/Samsung trial where              09:40:33                   16 failure to consider relevant evidence?                     09:42:39
17 although I was a Defendant, my initial damage claim                09:40:37             17     A   Yes, that -- that was -- that was, I              09:42:44
18 in that case was in excess of a billion dollars for        09:40:39                     18 think, the grounds in the Xilinx matter.                    09:42:44
19 the Defendant                                  09:40:42                                 19     Q   And, sir, have you had an opinion excluded               09:42:48
20          The -- I believe the Apple number was like         09:40:43                    20 as not reliable?                                 09:42:51
21 2 3 billion So it was a significantly less, but it        09:40:46                      21     A   Probably. For that one portion that was              09:42:54
22 was still in excess of a billion dollars                09:40:50                        22 excluded, I would think probably that was a reason                09:42:58
23          The other case was -- and I -- I              09:40:52                         23 at -- at least once or twice.                        09:43:01
24 apologize I can't remember the -- the -- the               09:40:57                     24     Q   And, sir, have you had an opinion excluded               09:43:02
25 Plaintiff, but the Defendant was DaimlerChrysler                09:40:59                25 as being too speculative?                             09:43:04
                                                                                 Page 11                                                                           Page 13

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 1    A      Well, you cited one where it was a method            09:43:07        1     Q     How many of those 2,586 documents did you                09:44:53
 2 patent, and the judge sustained -- or did not grant           09:43:10         2 personally look at?                               09:44:56
 3 any of the Daubert motions against me except for                 09:43:13      3     A     Well, I only looked at -- at -- there may       09:44:57
 4 one. And that was on the royalty base, and it was                09:43:15      4 be a few beyond that. I -- I looked at the               09:45:00
 5 for your firm.                                  09:43:18                       5 documents that are in Volumes 2 through 9 of my                   09:45:02
 6          Yeah. And that -- and he said it was              09:43:20            6 report, the ones that I'm relying upon. But I'm              09:45:05
 7 speculation to apply my rate, which he wasn't going               09:43:22     7 sure I read a couple of other ones, but I can't tell         09:45:09
 8 to allow the jury to hear. But I had no base                09:43:25           8 you the number.                                   09:45:12
 9 because your client and your law firm couldn't give               09:43:28     9     Q     So the documents in Volumes 2 through 9                09:45:13
10 me the -- the amount of use.                           09:43:31               10 are the ones that you considered?                       09:45:16
11    Q      So -- so the answer to my question was             09:43:33         11     A     Yes.                              09:45:18
12 yes?                                        09:43:34                          12     Q     Okay.                              09:45:18
13    A      Yes.                                09:43:35                        13     A     No. I relied upon.                        09:45:18
14    Q      And that was Judge Settle?                     09:43:35             14     Q     And you replied upon.                       09:45:19
15    A      I don't remember the name of the judge.             09:43:37        15     A     All of the 2,586 documents were considered             09:45:19
16    Q      Whatever the name of the judge was, he              09:43:39        16 by either me or my staff.                            09:45:23
17 excluded your opinion as too speculative, correct?               09:43:40     17     Q     Okay. But for the documents in Volumes 2               09:45:25
18    A      Well, yeah. At -- in the royalty base,           09:43:43           18 through 9, you personally looked at each of those?               09:45:27
19 which is normally something that, you know, I don't               09:43:44    19     A     Yes.                              09:45:30
20 have much, you know, opinion about, it's -- it's              09:43:47        20     Q     And those are the documents that you're              09:45:30
21 normally something that's assembled and I apply a                 09:43:49    21 relying on?                                  09:45:32
22 rate to. The -- what I provide value to is the              09:43:52          22     A     Correct.                           09:45:32
23 rate, and that was not excluded.                       09:43:55               23     Q     And if they're -- the document is not           09:45:33
24    Q      Sir, that was your opinion in that case           09:43:57          24 identified in Volumes 2 through 9, you're not                  09:45:34
25 that was excluded, right?                             09:43:59                25 relying on it; is that fair?                      09:45:38
                                                                       Page 14                                                                         Page 16

 1    A      Well, I didn't have an opinion on use, so          09:44:00          1     A     No. Because I -- I also submitted a Reply            09:45:41
 2 no, there was no opinion on use.                         09:44:02              2 Report. And if there's another document at Tabs B                 09:45:44
 3          I was instructed by you -- your firm to           09:44:04            3 or C, I'm relying upon that as well. With that               09:45:47
 4 assume all of the products sold by Ford, practiced               09:44:08      4 clarification, the answer is yes.                     09:45:49
 5 the method.                                     09:44:12                       5     Q     Okay. So let's move on to your Reply               09:45:51
 6    Q      Sir, it was your opinion that was              09:44:13              6 Report then. And it identifies 3,017 documents                  09:45:52
 7 excluded, right?                                 09:44:15                      7 considered, right?                                09:45:56
 8    A      With -- with that explanation, yes.              09:44:16            8     A     Correct.                           09:45:58
 9    Q      And you're saying it wasn't your fault?           09:44:18           9     Q     And does that list of 3,017 documents              09:45:58
10    A      No. Because I asked them. I asked them              09:44:20        10 include all the ones that you identified in your             09:46:02
11 to do a survey. They didn't. I knew that -- I               09:44:22          11 Opening Report?                                     09:46:05
12 knew -- I know what you have to do on method                      09:44:25    12     A     I would assume so, yes.                     09:46:11
13 patents, and -- and I knew it was a problem.                 09:44:27         13     Q     So the difference between the two that --          09:46:18
14    Q      Did you sign your report in that case?            09:44:30          14 the additional documents considered would be 431, is               09:46:20
15    A      I did.                              09:44:32                        15 that about right?                              09:46:24
16    Q      And it was your opinion, right?                 09:44:33            16     A     I haven't done the math. But every number             09:46:26
17    A      The opinions that I expressed in my report          09:44:35        17 you have said so far is accurate, so I'll accept          09:46:28
18 were mine.                                      09:44:37                      18 your --                                    09:46:30
19    Q      Sir, in this case in your report you have         09:44:38          19     Q     Is --                            09:46:31
20 a portion where it has "Documents Considered,"                    09:44:40    20     A     -- representation.                      09:46:31
21 right?                                      09:44:42                          21     Q     -- is there a way to identify which are         09:46:31
22    A      Correct.                              09:44:43                      22 the new documents that you looked at for your                    09:46:34
23    Q      And you identified 2,586 documents in your             09:44:44     23 written -- Reply Report?                              09:46:36
24 Opening Report that were considered, right?                   09:44:48        24     A     Yes, I could -- I guess you could do a          09:46:40
25    A      Correct. Listed on 131 pages.                  09:44:50             25 document compare between the two.                            09:46:41
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 1     Q    Let me go ahead and hand you copies of              09:46:43          1     A    I believe that's correct. Because if --          09:50:27
 2 your reports.                                09:46:46                          2 if it was a document that already existed, I think            09:50:28
 3         (Exhibit 2271 was marked for                    09:47:25               3 the reference in the footnote would be to one of the            09:50:31
 4 identification and is attached to the transcript.)        09:47:25             4 original Volumes 2 through 9.                          09:50:34
 5     Q    (BY MR. BERRY) Sir, I have handed you                   09:47:51      5     Q    And, sir, for your Reply Report we have              09:50:36
 6 what's been marked as Exhibit 2271, which is your                09:47:53      6 your list of documents considered. But if we want                09:50:38
 7 Opening Report, and Exhibit 2272, which is your Rely               09:47:56 7 to find out which documents you actually relied                   09:50:41
 8 Report.                                     09:48:00                           8 upon, those are the documents in Tabs B and C?                   09:50:43
 9         (Exhibit 2272 was marked for                    09:48:01               9     A    Yes.                                  09:50:46
10 identification and is attached to the transcript.)        09:48:01           10      Q    And -- and no other document?                     09:50:47
11     Q    (BY MR. BERRY) Do you have those?                       09:48:02    11      A    Correct.                              09:50:48
12     A    I do.                             09:48:03                          12      Q    Sir, you signed your Opening Report on                09:50:59
13     Q    Would you look at Exhibit 2272, your Reply             09:48:03     13 August 24, 2017; is that right?                        09:51:01
14 Report, and show me how we can identify which are                  09:48:06 14       A    Yes.                                  09:51:04
15 the new documents you considered for your reply.                 09:48:10    15      Q    And Mr. Bratic served his report on                09:51:04
16     A    Well, I would have to also use                 09:48:13             16 September 7, 2017?                                   09:51:07
17 Exhibit 2271.                                 09:48:15                       17      A    Yes.                                  09:51:08
18     Q    Absolutely.                           09:48:17                      18      Q    And then you served a Reply Report on                 09:51:09
19     A    The both lists are in alphabetical order.       09:48:19            19 September 14, 2017, right?                             09:51:13
20 So again, you would have to go through and do a                 09:48:59     20      A    Yes.                                  09:51:15
21 document compare.                                    09:49:03                21      Q    And in your Reply Report, sir, you say               09:51:15
22         And whenever a new document with that                09:49:04        22 that, None of the opinions expressed by Mr. Bratic                09:51:18
23 letter is included in Exhibit 2272, that would be in         09:49:06        23 or Mr. Malackowski has caused me to change the                     09:51:21
24 addition to a document that was on the list of             09:49:13          24 opinions and conclusions -- and conclusions that I               09:51:24
25 documents considered in Exhibit 2271.                      09:49:15     25 reached in my Opening Report. And I continue to                        09:51:26
                                                                   Page 18                                                                            Page 20

 1     Q    But sitting here right now, sir, you can't      09:49:19              1 hold the opinions and conclusions expressed in my                09:51:30
 2 tell us what the new documents are that you                  09:49:21          2 Opening Report.                                    09:51:33
 3 considered for your Reply Report?                        09:49:24              3         And that was true, sir, when you submitted            09:51:34
 4     A    Well, I mean, I could tell you a small          09:49:26              4 your Reply Report, right?                             09:51:36
 5 subset of them. As an example, you know,                     09:49:28          5     A    Yes.                                  09:51:39
 6 Mr. Malackowski's report and Mr. Bratic's report, I             09:49:30       6     Q    And does that remain true today?                   09:51:40
 7 know those are new.                               09:49:34                     7     A    Yes.                                  09:51:42
 8     Q    Do you, sir, have a list of documents --         09:49:35             8     Q    Sir, the Stroz report has recently been            09:51:46
 9 additional documents that you considered for you                09:49:37       9 produced. Have you seen a copy of that?                       09:51:50
10 your Reply Report?                                09:49:40                   10      A    I don't believe so.                       09:51:52
11     A    Nothing has been prepared for at least my           09:49:40        11      Q    Do you know what the Stroz report is?                09:51:52
12 view, except for the document that's attached as             09:49:43        12      A    I don't believe so. Oh -- oh, yeah. I'm           09:51:54
13 Tab 4 to Exhibit 2272.                            09:49:47                   13 sorry. Yes, I do.                                 09:51:56
14     Q    And the only way to use your reports to           09:49:50          14      Q    And --                                09:51:57
15 identify the new documents you considered for the                09:49:54    15      A    I know what it is. I have not seen it.           09:51:58
16 Reply Report is to go through 3,000 documents to try              09:49:56 16        Q    Has your team seen it?                       09:52:00
17 to match them up?                                 09:50:00                   17      A    To my knowledge, they have not. They have               09:52:02
18     A    No. There's another way. And probably               09:50:02        18 not communicated that to me, if they have.                     09:52:05
19 the more important way to determine the new                     09:50:04     19      Q    And that's not something that you need for            09:52:05
20 documents I'm replying upon is, again, by looking at             09:50:08    20 the opinions that you rendered in -- in your -- in             09:52:08
21 documents that are in Tabs B -- or Lines B and C or              09:50:12    21 your report, right?                                09:52:09
22 looking at the footnotes in the report that refer to       09:50:14          22      A    Well, I --                            09:52:11
23 a volume tab reference with a "B" or a "C" in it.            09:50:17        23          MR. EISEMAN: Object as to the form.                    09:52:12
24     Q    So all documents in Tabs B and C are new               09:50:22     24      A    -- I think in my first report I did          09:52:13
25 documents that you considered for your Reply Report?                09:50:25 25 actually say that if -- if I had that information, I         09:52:15
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 1 me documents behind Volume 5, Tab 9, I can give you                  10:04:49           1 launching. But as soon as they launch, I assume                  10:06:41
 2 a list                                      10:04:54                                    2 they're going to charge for their service.                   10:06:44
 3     Q     How did you assume that the cost of Uber's          10:04:54                  3         THE COURT REPORTER: Wait.                                10:06:45
 4 autonomous vehicle would change over time?                        10:04:58              4     Q    (BY MR. BERRY) And, sir, you just don't                  10:06:45
 5     A     It would decrease significantly                10:04:59                       5 know what year it's going to be?                            10:06:46
 6     Q     By how much?                             10:05:01                             6     A    Yeah. Again, I would expect it's before               10:06:48
 7     A     Again, I don't have that fact memorized            10:05:02                   7 2019. But exactly when, I don't know.                         10:06:52
 8     Q     Sir, in what year did you assume that Uber          10:05:10                  8     Q    And the level of expected revenues by year              10:06:54
 9 would first make a profit off its autonomous                 10:05:13                   9 for Uber's autonomous vehicle program was not                     10:06:57
10 vehicles?                                     10:05:16                                 10 relevant to the type of analysis you did?                    10:07:00
11     A     Again, I -- I don't know that fact I           10:05:18                      11     A    Well, no. It's relevant. But it's not          10:07:02
12 don't know I have seen that detail I have only               10:05:20                  12 necessary for me to know and -- and understand that                10:07:04
13 seen net present value calculations, the results of          10:05:23                  13 level of detail.                                  10:07:06
14 those                                       10:05:25                                   14     Q    Sir, did you personally try to project              10:07:14
15          I -- I do know based on my experience              10:05:27                   15 Uber's profits going into the future?                       10:07:18
16 that -- that they're going to lose money for a              10:05:28                   16     A    No.                                     10:07:20
17 while, and then eventually they will make money                   10:05:31             17     Q    Did you, sir, try to project Uber's                10:07:21
18     Q     Sir, at what point are they going to turn        10:05:35                    18 revenues going into the future?                         10:07:23
19 it around and start making a profit?                     10:05:37                      19     A    No.                                     10:07:25
20     A     Again, I don't recall seeing that level of      10:05:40                     20     Q    Sir, in which cities did you assume that             10:07:29
21 detail                                      10:05:40                                   21 Uber would launch in 2018?                                  10:07:35
22     Q     You just don't know?                         10:05:42                        22     A    Again, I -- I have seen a schedule of               10:07:38
23     A     I don't know                           10:05:45                              23 that, and I don't know the order and time of -- of              10:07:40
24     Q     Can you say whether they're going to make            10:05:46                24 their entry to different geographic markets. For                10:07:45
25 a profit or expect to make a profit in 2018?                10:05:47                   25 some reason I have a recollection that Phoenix was                10:07:48
                                                                                Page 34                                                                         Page 36

 1     A      I -- I don't know that. But based on                    10:05:49             1 one of the first. I mean, I know that Singapore is              10:07:50
 2 everything that I understand, it would be -- I would                     10:05:51       2 on that list, and that's why you asked the question.            10:07:55
 3 be very surprised if they would.                                  10:05:52              3         And there were, you know, a dozen other                 10:07:58
 4     Q      And, sir, have you arrived at any                       10:05:54             4 cities, but -- but I -- I -- I don't remember the            10:08:00
 5 conclusion on whether or not Uber is expected to                         10:05:56       5 order and when they were going to start.                      10:08:03
 6 make a profit in 2019 --                                    10:05:58                    6     Q    In -- for that list of cities that Uber is     10:08:06
 7     A      No.                                     10:06:01                             7 going to launch in, as of today, in how many cities              10:08:10
 8     Q      -- on -- on its autonomous vehicle?                      10:06:01            8 is it legal to transport people in an autonomous                10:08:15
 9     A      No.                                     10:06:02                             9 vehicle without a safety driver?                        10:08:19
10     Q      Sir, can you tell me what profits Uber is                 10:06:06          10         MR. EISEMAN: Objection as to form.                      10:08:21
11 expected to have from its autonomous vehicle program                          10:06:12 11     A    I -- I don't know the answer to the                10:08:22
12 in 2020?                                               10:06:15                        12 question, but it would be my expectation that none.               10:08:24
13     A      No. By -- year by year, I cannot tell                   10:06:17            13     Q    (BY MR. BERRY) For the work that you did                      10:08:30
14 you.                                              10:06:20                             14 in this case, sir, did you assume that Uber, through             10:08:32
15     Q      And, sir, that was not relevant to the                  10:06:20            15 2021, is going to have limitations on the types of              10:08:36
16 analysis you did?                                        10:06:22                      16 roads that it can transport people -- transport               10:08:40
17     A      No. It's totally relevant to -- to what                10:06:23             17 people on using its autonomous vehicle?                        10:08:42
18 I'm doing, as I have explained to you a number of                        10:06:26      18     A    I -- I -- I think -- again, I haven't         10:08:45
19 times.                                            10:06:28                             19 studied this, but I believe that your client did              10:08:48
20     Q      So, sir, we have been talking about                      10:06:28           20 model that. That -- depending on, you know, when                   10:08:50
21 profits. Let's talk about revenues. When did you                        10:06:30       21 they had long-range LiDAR capable of driving at                   10:08:55
22 assume that Uber would get its first dollar in                       10:06:32          22 greater speeds, until they had that, they would be              10:08:58
23 revenue from its autonomous vehicle program?                              10:06:35     23 at launch -- on streets where they're less than               10:09:01
24     A      Again, it -- to be consistent with                     10:06:37             24 50 miles an hour.                                   10:09:05
25 previous answers, I don't know when they're                             10:06:39    25        Q    And, sir, did you look at that modeling?              10:09:05
                                                                               Page 35                                                                           Page 37

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 1     A      I mean, I looked at some -- I didn't look                 10:09:08           1 would -- again, based on what I know, I would guess                10:11:05
 2 at the modeling. I looked at some of the                             10:09:08           2 the third might be Tesla                             10:11:09
 3 assumptions that they were making.                                   10:09:11           3    Q     That's just a guess?                        10:11:12
 4     Q      And were those assumptions reasonable?                        10:09:13       4    A     Well, I know that they have autonomous                 10:11:14
 5     A      Again, based on my reviewing them, they --                    10:09:14       5 vehicle capabilities I understand that they are             10:11:16
 6 they looked reasonable to me, but I'm not an expert                        10:09:16     6 not to the Level 4, Level 5 capability And they                 10:11:19
 7 in this industry.                                     10:09:20                          7 don't even use LiDAR But I do understand they have                  10:11:25
 8     Q      Did you ask for Waymo to -- to retain an                     10:09:21        8 some plans on possibly entering this business                   10:11:28
 9 expert in the industry?                                     10:09:23                    9    Q     So, sir, LiDAR is not essential for an           10:11:32
10     A      No.                                      10:09:25                           10 autonomous vehicle?                                   10:11:34
11     Q      You didn't think that one was needed?                       10:09:26        11         MR EISEMAN: Objection as to form                        10:11:35
12     A      Not for what I was doing.                           10:09:29                12    A     I think it is to do Level 4 or 5, but not       10:11:36
13     Q      Sir, you were talking about possible speed                   10:09:32       13 Level 3 And -- and that's been told to me by                 10:11:40
14 limitations on Uber's autonomous vehicle, right?                         10:09:35      14 technical experts That's not my professional                 10:11:46
15     A      Yes.                                     10:09:38                           15 opinion                                      10:11:47
16     Q      What about daytime versus nighttime? Any                        10:09:38    16         THE COURT REPORTER: Told to me by?                          10:11:47
17 limitations there?                                        10:09:43                     17    A     By technical experts That is not my               10:11:47
18     A      Yes. It -- there's weather related, and                10:09:44             18 professional opinion                                 10:11:49
19 there's day and nighttime as well that I have seen.                     10:09:46       19    Q     (BY MR BERRY) So for competitors, sir,                   10:11:50
20     Q      What's the weather-related limitations?                     10:09:49        20 you have mentioned Waymo and Tesla Did you assume                      10:11:52
21     A      I -- I think -- well, it's precipitation.           10:09:50                21 that any other competitor would join the autonomous                10:11:56
22 And -- and I think that snow is a lot harder than                      10:09:50        22 vehicle market by 2022?                                10:11:58
23 rain.                                             10:09:54                             23    A     No Again, I know that Ford is expressing               10:12:00
24     Q      And one of the cities that you assumed                      10:09:56        24 some interest in this area, but I have no idea when             10:12 03
25 Uber would launch in by 2022 is Chicago, right?                            10:10:00  25 their planned entry is                              10:12:07
                                                                                Page 38                                                                                    Page 40

 1     A    I believe that's correct                  10:10:04                             1     Q     The entry of competitors into the                        10:12:09
 2     Q    And how is the weather in Chicago in the             10:10:04                  2 autonomous vehicle market is relevant to forecasting                         10:12:11
 3 wintertime going to affect Uber's profits using              10:10:08                   3 future profits for Uber, correct?                               10:12:17
 4 autonomous vehicles?                                10:10:09                            4     A     If they are going to enter the                        10:12:19
 5         MR EISEMAN: Objection as to form                      10:10:12                  5 transportation-as-a-service segment, yes.                            10:12:22
 6     A    Well, with global warming and my                    10:10:13                   6     Q     When did you assume that autonomous                              10:12:26
 7 conversations with people, the winters are                  10:10:14                    7 vehicles would be available for consumers to                            10:12:29
 8 getting -- getting a lot milder But no It can be            10:10:16                    8 purchase?                                              10:12:32
 9 brutally cold and snowy in Chicago in the winter                10:10:17                9     A     I haven't made such an assumption, but I                     10:12:33
10     Q    You just know one --                        10:10:22                          10 -- I would like you to tell me that, because I'm                      10:12:35
11         THE COURT REPORTER: Wait                               10:10:25                11 probably going to be one of the first buyers, as                      10:12:37
12     A    You have got to slow down                        10:10:25                     12 Mr. Schuman knows.                                              10:12:40
13         THE COURT REPORTER: Thank you                             10:10:25             13     Q     Did you assume that it would be before or                     10:12:43
14     Q    (BY MR BERRY) You just don't know one way                     10:10:25        14 after 2022?                                            10:12:44
15 or the other, right?                             10:10:27                              15     A     I think it'll be around then, but I don't               10:12:47
16     A    I don't                               10:10:29                                16 -- I haven't made any assumption one way or the                            10:12:49
17     Q    And did you -- let me ask a different             10:10:29                    17 other.                                               10:12:52
18 question                                       10:10:37                                18     Q     The -- when consumers can purchase an                            10:12:53
19         So you mentioned one potential competitor             10:10:43                 19 autonomous vehicle, that would impact Uber's                               10:12:58
20 to Uber is Waymo What about others? By 2022, did                     10:10:45          20 profits, correct?                                       10:13:01
21 you assume that other competitors would be in the               10:10:50               21          MR. EISEMAN: Objection as to form.                             10:13:02
22 autonomous vehicle market?                                10:10:53                     22     A     I -- I think at the margin it would, but I               10:13:04
23     A    I -- I didn't I -- I'm not aware of         10:10:55                          23 don't think it would be a significant impact.                        10:13:08
24 seeing documents that tell me who either my client              10:10:59               24     Q     (BY MR. BERRY) And that's not something                             10:13:10
25 or your client thought would be there I -- I                10:11:02                   25 you have looked at, right?                                   10:13:11
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 1 decided the Rubicon modeling was too speculative to                  10:30:05    1     A     I don't know the answer to that question.          10:32:01
 2 rely upon, that is not relevant to your analysis?            10:30:10            2     Q     Sir, would you please turn to the page             10:32:12
 3     A    No. Because I'm relying upon it when they              10:30:11         3 ending in 566?                                    10:32:15
 4 were using it to make -- as -- as an example right              10:30:14         4     A     Yes.                                10:32:18
 5 here, they are recommending 15,000s AVs to be                      10:30:17      5     Q     And do you see at the top of the page that          10:32:19
 6 purchased from their OEMs in 2019. That is a major                  10:30:21     6 this page is called "Launch Schedule"?                       10:32:21
 7 business decision. And this is the best information             10:30:27         7     A     Yes.                                10:32:25
 8 they had at the time.                             10:30:29                       8     Q     And the table has a bear case, a base            10:32:25
 9         If they then subsequently decide to do             10:30:30              9 case, and a bull case?                             10:32:30
10 something else, it's not that relevant to me as of           10:30:32           10     A     Yes.                                10:32:32
11 this time. Now, if I was going to be looking at                10:30:35         11     Q     And in this case, sir, you used the base         10:32:33
12 projections later, that might be relevant to me.             10:30:38           12 case; is that fair?                            10:32:36
13     Q    So let me reask my question, because I'm              10:30:41         13     A     Correct.                             10:32:38
14 not sure you answered it.                            10:30:43                   14     Q     According to the launch schedule in this            10:32:40
15     A    Okay.                                 10:30:45                         15 Project Rubicon PowerPoint that you relied upon, it               10:32:43
16     Q    My question, sir: Is it relevant to your          10:30:45             16 assumed that Uber would launch in two cities in                 10:32:47
17 analysis in -- is it relevant to your analysis in          10:30:47             17 2016, correct?                                  10:32:49
18 this case if Uber stopped using the project Rubicon                10:30:49     18     A     It does say it. And I kept saying              10:32:51
19 modeling because it was too speculative?                     10:30:54           19 Phoenix. I should have said Tucson. Yes.                      10:32:54
20         MR. EISEMAN: Objection as to form.                     10:30:56         20     Q     So the analysis that you relied upon, sir,       10:32:57
21     A    I think I answered that and maybe put too             10:30:57         21 assumed that Uber would launch in two cities in                 10:33:00
22 much in my answer that you should have moved to                      10:30:59 22 2016, correct?                                    10:33:02
23 strike. But no, that's not relevant to me.                10:31:02              23     A     Correct.                             10:33:03
24     Q    (BY MR. BERRY) Sir, you -- you reference                   10:31:04 24        Q     Uber hasn't launched in any city in 2017,           10:33:04
25 here at the top of the page ending in 561 that               10:31:05     25 has it?                                            10:33:07
                                                                     Page 58                                                                              Page 60

 1 there's 15,000 total units projected to be purchased            10:31:10         1     A     As far as I know, they have not.               10:33:09
 2 for 2019, right?                                10:31:13                         2     Q     The assumption --                          10:33:09
 3     A    Yes.                                 10:31:15                           3          THE COURT REPORTER: Wait.                              10:33:09
 4     Q    And did Uber, in fact, make an order for              10:31:16          4     Q     (BY MR. BERRY) -- that Uber would launch                  10:33:09
 5 15,000 total units for 2019?                            10:31:21                 5 in two cities in 2016 has now proven false?                   10:33:12
 6     A    I -- I don't think they made any order.           10:31:23              6     A     Yes.                                10:33:19
 7 This is only 2017. I think it's too early to place          10:31:25             7     Q     Sir, do you see the base case for 2017             10:33:20
 8 that order. So no, I don't think they have done it             10:31:28          8 assumes that Uber would launch in four cities by                10:33:25
 9 yet.                                         10:31:32                            9 2017, correct?                                  10:33:30
10         THE COURT REPORTER: Wait.                               10:31:32        10     A     Yes.                                10:33:31
11     Q    (BY MR. BERRY) In fact, Uber, as far as                 10:31:32       11          MR. EISEMAN: Objection as to form.                    10:33:31
12 you know, has never placed an order for any vehicles                10:31:34 12        Q     (BY MR. BERRY) And, sir, we are now in                  10:33:34
13 for its autonomous program?                              10:31:37               13 2017, and Uber has not launched in any cities,                 10:33:36
14     A    Well, I think that's an incorrect               10:31:39               14 correct?                                      10:33:39
15 statement, because I understand they have autonomous                 10:31:41 15       A     As far as I know, they have not.               10:33:40
16 vehicles that are operational. So obviously, they              10:31:42         16     Q     And so, sir, time has proven the               10:33:41
17 didn't make them from scratch. They bought them                     10:31:45 17 assumption for four cities to be launched in 2017 as               10:33:44
18 from somebody.                                      10:31:48                    18 false?                                       10:33:48
19     Q    How many autonomous vehicles does Uber                     10:31:49 19        A     Correct.                             10:33:50
20 have?                                         10:31:50                          20     Q     And, sir, do you see that this launch           10:33:51
21     A    I don't know that.                         10:31:51                    21 schedule for 2018 assumes that Uber will launch in                10:33:54
22     Q    Enough to commercialize?                         10:31:52              22 six cities in -- by 2018, correct?                     10:33:59
23     A    No, I don't think so.                      10:31:54                    23     A     Yes. And -- and I actually should take a           10:34:03
24     Q    Has Uber placed any orders for vehicles               10:31:55         24 little bit of fault with what you have said. Maybe             10:34:05
25 that would allow it to commercialize?                       10:31:59      25 you're saying it correctly.                               10:34:09
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 1     A    Yes                              12:12:29                                 1 be representing their interests at that point. But                     12:14:38
 2     Q    And again, that's based on Uber documents          12:12:29               2 I -- that's only way I see my work as relevant to                       12:14:41
 3 showing a $20 million per-month run rate for its R&D             12:12:33          3 your client.                                          12:14:44
 4 program on autonomous vehicles, right?                    12:12:39                 4     Q     (BY MR. SCHUMAN) Right. So the same                                12:14:49
 5     A    Yeah, documents and I believe deposition          12:12:42                5 caveat -- the same caveats that you're referring to                      12:14:49
 6 testimony of Mr Bares                            12:12:44                          6 in that answer are -- are the sort of -- we'll call                   12:14:51
 7     Q    Fair Right And -- and so your second            12:12:45                  7 them speculative future possibility that Uber                          12:14:54
 8 unjust enrichment calculation is not based on any           12:12:48               8 acquires Otto Trucking and shares some of these                           12:14:58
 9 Otto Trucking-specific evidence; is that fair?           12:12:50                  9 benefits that you have quantified with Otto Trucking                        12:15:01
10     A    That is fair                       12:12:55                              10 in the future; is --                                   12:15:04
11     Q    So your second unjust enrichment               12:12:55                  11          MR. EISEMAN: Objection.                                  12:15:05
12 calculation, would you agree with me, is not              12:12:57                12     Q     (BY MR. SCHUMAN) -- that --                                   12:15:05
13 applicable to Otto Trucking?                         12:13:00                     13          MR. EISEMAN: Objection. Sorry.                                12:15:06
14         MR EISEMAN: Objection as to form                  12:13:02                14     Q     (BY MR. SCHUMAN) Am I --                                       12:15:07
15     A    Yes, with the same caveats as I discussed        12:13:02                15          MR. EISEMAN: Objection as to form.                              12:15:09
16 on the first calculation                       12:13:05                           16     Q     (BY MR. SCHUMAN) I didn't ask the question                          12:15:09
17     Q    (BY MR SCHUMAN) Right So assume --                      12:13:07         17 yet. Do you understand that -- do I understand your                       12:15:10
18 assume for purposes of this question that Otto            12:13:08                18 caveats correctly?                                         12:15:14
19 Trucking pays Uber some amount of money for the work               12:13:11       19          MR. EISEMAN: Objection as to form.                              12:15:15
20 that Uber employees are -- are doing on                 12:13:18                  20     A     Yes. If you took just the                           12:15:16
21 autonomous -- the development of autonomous trucks               12:13:22         21 word "speculative" out of your question, I would                          12:15:18
22         Have you seen any evidence in the              12:13:25                   22 agree with what you said.                                     12:15:21
23 materials you reviewed as to what Otto Trucking's           12:13:28              23          I mean -- yeah, I don't know whether                         12:15:24
24 burn rate is for that development?                    12:13:32                    24 they're going to get acquired or not. But you know,                       12:15:25
25     A    No                               12:13:35                                25 clearly your -- your client is -- is getting a lot                 12:15:27
                                                                          Page 130                                                                               Page 132

 1     Q     Okay. Did -- on the list of materials you               12:13:36         1 of funds from Uber Uber is forwarding -- committed                12:15:29
 2 reviewed or at least considered is the Brent Schwarz                   12:13:39    2 to forward a lot of funds to your client There --             12:15:32
 3 deposition.                                       12:13:44                         3 there is a -- a deal done that your client -- client        12:15:34
 4          Do you recall reviewing any portions of                  12:13:45         4 will have to accept and Uber can force on your                 12:15:38
 5 Mr. Schwarz's deposition?                                  12:13:47                5 client, if they want to                            12:15:41
 6     A     I personally do not.                          12:13:48                   6         I don't know what their mind-set is right           12:15:43
 7     Q     You have a separate section of your                     12:13:55         7 now, and I don't know how much development on the                     12:15:45
 8 report -- and we were just covering this with Uber's                  12:13:58     8 truck has been done as to whether Uber believes it's            12:15:47
 9 counsel -- unjust enrichment related to Trade Secret                   12:14:02    9 appropriate to purchase your client                        12:15:51
10 No. 90. And I think you have an $8 million unjust                      12:14:04   10         So I don't think it's wild speculation,        12:15:54
11 enrichment figure for that; is --                         12:14:08                11 but I clearly do not know whether it will happen or             12:15:56
12     A     Yes --                                 12:14:10                         12 not But then all the caveats apply                     12:16:00
13     Q     -- that right?                          12:14:10                        13     Q    (BY MR SCHUMAN) Right So fair enough                         12:16:03
14     A     -- that's correct.                         12:14:11                     14 Taking out the word "speculative " I know we don't                12:16 03
15     Q     And that is -- that -- is that based on               12:14:12          15 like using that word The caveats you're referring              12:16:06
16 any Otto Trucking documents or evidence?                             12:14:15     16 to regarding the applicability of your unjust                12:16:09
17     A     No.                                    12:14:17                         17 enrichment damage theories, those caveats are Uber                12:16:12
18     Q     Does that theory have any applicability to               12:14:18       18 acquires Otto Trucking and that Uber shares some of               12:16:17
19 Otto Trucking?                                        12:14:20                    19 the technology it's developing using the allegedly             12:16:21
20          MR. EISEMAN: Objection as to form.                          12:14:21     20 misappropriated trade secrets with Otto Trucking; is             12:16:25
21     A     You know, I -- no, again, with the same                  12:14:22       21 that right?                                     12:16:28
22 caveats. And -- and I personally believe that my                     12:14:26     22     A    That's -- that's -- again, that's my          12:16:28
23 work is only relevant unless client is -- you will                 12:14:28       23 conclusion -- or that would be my opinion as a                 12:16:30
24 have no role at the trial, because your client will                12:14:32       24 damage expert                                     12:16:33
25 be owned by Uber. And I assume Uber's counsel will                      12:14:35 25      Q    If both of those assumptions are true,             12:16:33
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 1 then your damages opinions -- your unjust enrichment                         12:16:36     1 projections from Otto Trucking, right?                       12:18:51
 2 damages opinions may have some applicability to Otto                          12:16:39 2        A    Correct I don't believe I have seen any             12:18:52
 3 Trucking, correct?                                          12:16:41                      3 projections for your client --                       12:18:54
 4           MR. EISEMAN: Objection as to form.                             12:16:44         4     Q    Right                               12:18:56
 5     A      That's fair.                                12:16:44                           5     A    -- and so I poss -- I could not have           12:18:56
 6     Q      (BY MR. SCHUMAN) You also have a                                  12:16:49     6 possibly considered them                              12:18:58
 7 reasonable royalty rate calculation, and that                         12:16:52            7     Q    Okay You answered my next question, so                  12:18:59
 8 measures the amount that Uber would have agreed to                           12:16:55 8 that'll make us go a little faster                       12:19:01
 9 pay Waymo in this hypothetical negotiation set in                          12:16:57       9         Factor 11 talks about the extent of the             12:19:04
10 the -- somewhere in the December 15 -- August --                            12:17:01    10 use of the invention This is addressed at                    12:19:06
11 between December '15 and August 2016 time period,                             12:17:04 11 paragraphs 424 and 428 of your report And again,                   12:19:09
12 right?                                              12:17:08                            12 you find that that factor pushes the base -- the --            12:19:12
13     A      Correct.                                   12:17:09                          13 the reasonable royalty baseline up a little bit               12:19:13
14     Q      You didn't do any separate calculation of                    12:17:09        14 because of your assumptions based on the work of                   12:19:17
15 the amount that Otto Trucking would have agreed to                           12:17:11 15 others that -- that Uber has used these trade                   12:19:21
16 pay Waymo at a hypothetical negotiation set during                          12:17:15    16 secrets, right?                                   12:19:24
17 that same time period, correct?                                 12:17:20                17      A    Yes                                 12:19:25
18     A      That is accurate.                               12:17:22                     18      Q    And you -- you have not done or are -- at            12:19:28
19     Q      Okay. And then for the reasonable royalty                     12:17:23       19 least -- have -- have you seen any evidence of any               12:19:30
20 calculation that you did, you start with a baseline                      12:17:25       20 use of any of these trade secrets by my client, Otto             12:19:33
21 of Uber's unjust enrichment. And then you adjusted                          12:17:28    21 Trucking?                                         12:19:36
22 upward based on some analysis you have done of                              12:17:32    22          MR EISEMAN: Objection as to form                       12:19:37
23 certain of the Georgia-Pacific factors. Namely 4,                        12:17:36       23      A    I have not                              12:19:37
24 5, 6, 8, and 11, correct?                                    12:17:38                   24      Q    (BY MR SCHUMAN) And so your analysis of                        12:19:41
25     A      Those are the only ones that had any                       12:17:42      25 Factor 11 is inapplicable to my client, Otto                      12:19:42
                                                                              Page 134                                                                                     Page 136

 1 impact on changing the number from the baseline                  12:17:45                 1 Trucking, right?                                  12:19:46
 2 That is correct                                   12:17:47                                2         MR EISEMAN: Objection as to form                       12:19:47
 3    Q      And -- and Factor 5 -- this is addressed           12:17:48                     3     A    Based on the information that I have at              12:19:48
 4 in your report at paragraphs 399 to 401 -- that --            12:17:52                    4 this time, that is correct                         12:19:50
 5 that factor deals with the commercial relationship              12:17:55                  5     Q    (BY MR SCHUMAN) Okay Mr Wagner, if the                          12:19:53
 6 between Waymo and Uber and some documents that you                       12:17:58         6 jury finds that -- and this is the hypothetical, so          12:19:55
 7 referred regarding the -- the potential competitive            12:18:02                   7 it's -- follow me here If the jury finds that Uber            12:19:57
 8 relationship between those two companies, right?                 12:18:08                 8 and Ottomotto -- strike that I'm going to start              12:20:01
 9    A      Yes                                  12:18:10                                   9 over                                       12:20:05
10    Q      That analysis in Factor 5 is -- is              12:18:11                      10          Hypothetical: If at trial in this case        12:20:05
11 inapplicable to -- to my client Otto Trucking --              12:18:13                  11 the jury finds in favor of Uber -- Uber and                   12:20:06
12    A      Yeah --                               12:18:16                                12 Ottomotto -- so a defense verdict for them -- but               12:20:10
13    Q      -- correct?                           12:18:16                                13 against Otto Trucking on liability, what's your                 12:20:13
14    A      -- as discussed in my report, that is            12:18:16                     14 opinion as to the damages that Waymo would be                      12:20:17
15 correct                                        12:18:19                                 15 entitled to as to my client, Otto Trucking?                   12:20:20
16    Q      Right And -- and Factor 8 deals with               12:18:20                   16          MR EISEMAN: Objection as to form                       12:20:23
17 expected future profitability And you analyzed                  12:18:25                17      A    I would need more facts to know if there's            12:20:24
18 Waymo's and Uber's projections for profitability of              12:18:29               18 any relevance of what I have done would apply to                  12:20:25
19 autonomous vehicles                                  12:18:36                           19 your client in that hypothetical                       12:20:28
20         And in your view, that factor counseled in            12:18:36                  20      Q    (BY MR SCHUMAN) So as you sit here today                      12:20:30
21 favor of some enhancement to the baseline for the                12:18:38               21 based on the work you have done so far up to and                  12:20:32
22 reasonable royalty calculation, right?                     12:18:42                     22 including today, you don't have an opinion of what                12:20:35
23    A      That's fair                           12:18:44                                23 damages Waymo would be entitled to under that                      12:20:38
24    Q      Okay And -- and you were working with                 12:18:45                24 hypothetical verdict --                             12:20:40
25 Waymo and Uber projections there, not any                       12:18:48                25          MR EISEMAN: Objection                               12:20:41
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 1     Q     (BY MR SCHUMAN) -- is that fair?                      12:20:41                1      A     Well, you know, I -- well, let me -- let            12:23:06
 2         MR EISEMAN: Objection as to form                       12:20:43                 2 me give you an example of another case that I                      12:23:07
 3     A     I do not                           12:20:43                                   3 testified in last year in a similar fact situation             12:23:10
 4     Q     (BY MR SCHUMAN) In -- in response to some                  12:20:44           4 of this case where there's no product in the market                   12:23:13
 5 of the questions you got from Uber's counsel, you --             12:20:50               5 yet. There's regulatory approvals that need to be                 12:23:16
 6 you mentioned that you personally spent                       12:20:55                  6 done that weren't done yet; that there would be no                    12:23:20
 7 approximately 64 hours total working on -- working                12:20:58              7 commercialization for years into the future. And I                    12:23:21
 8 on your opinions in this case Obviously, your                  12:21:01                 8 had the business plans of the company that took the                    12:23:24
 9 staff spent many more hours than that                     12:21:04                      9 trade secrets.                                    12:23:30
10         Approximately what percentage of your                  12:21:06                10           Now, there they provided me the model, and                  12:23:31
11 64 hours, Mr Wagner, did you spend focusing on                    12:21:09             11 they never made a calculation of what the impact                      12:23:36
12 calculating damages specific to my client, Otto                 12:21:14               12 would be on them to accelerate the development by                        12:23:39
13 Trucking?                                     12:21:16                                 13 any amount of time. I had to get into their model,                 12:23:43
14     A     Zero                               12:21:17                                  14 understand the logic, and make that calculation                   12:23:46
15     Q     Just bear with me a second                   12:21:25                        15 myself.                                          12:23:47
16     A     But I could -- the approximate -- it's         12:21:27                      16           In this case I have the same thing in that           12:23:49
17 exactly 64 0 hours through September 15 And it's                 12:21:30              17 I have projections done at the time of the alleged                12:23:51
18 been 13 4 hours since then before today                       12:21:36                 18 theft by the party who was alleged to have taken the                   12:23:55
19     Q     I would --                          12:21:39                                 19 trade secrets.                                    12:23:59
20     A     -- between September 15 and today                   12:21:40                 20           But they have even gone to the next step              12:24:01
21     Q     In response to some questions from Uber's             12:21:44               21 of actually quantifying the impact of acceleration,                12:24:04
22 counsel, I think you made clear that your damages                12:21:45              22 and so that's why I say it's the Rosetta Stone.                 12:24:07
23 are based on Uber's use of -- alleged use of the               12:21:46                23 Normally I have to do more work than I did in this                    12:24:09
24 trade secrets in its development of its autonomous               12:21:53              24 case, but Uber has done it for me.                           12:24:12
25 vehicles                                     12:21:56                                  25      Q     Right. And have you seen any similar                  12:24:17
                                                                               Page 138                                                                           Page 140

 1         If the evidence at trial shows that my           12:22:01                       1 documents from my client, Otto Trucking?                   12:24:20
 2 client, Otto Trucking, has not used any of those               12:22:04                 2      A    I knew that was next question The answer         12:24:23
 3 trade secrets, would you agree with me that your                12:22:07                3 is no And you're closing the loop                   12:24:25
 4 opinions are irrelevant to Otto Trucking?                     12:22:10                  4          MR SCHUMAN: Why don't we take a                    12:24:32
 5         MR EISEMAN: Objection as to form                       12:22:13                 5 two-minute break I don't think I have anything             12:24:33
 6     A     I'm not giving you a legal opinion But              12:22:16                  6 more, but why don't we just --                     12:24:36
 7 as -- my judgment as a damage expert, you are                   12:22:17                7          MR BERRY: I actually have a couple of             12:24:36
 8 correct                                     12:22:20                                    8 questions                                12:24:38
 9     Q     (BY MR SCHUMAN) You mentioned that you                         12:22:29       9          MR SCHUMAN: Well, I'm not sure I'm done              12:24:38
10 had documents in this case from Uber with its own                 12:22:31             10 yet I just want to --                      12:24:40
11 modeling of the benefits of -- of -- well, let me --          12:22:38                 11          MR BERRY: Okay                           12:24:41
12 let me ask it -- strike that Let me start that           12:22:44                      12          MR SCHUMAN: -- take a two-minute break               12:24:41
13 question again                                   12:22:47                              13 and make sure And then if you have something else             12:24:41
14         Do you remember some testimony you gave in                12:22:48             14          MR BERRY: Okay                           12:24:44
15 response to Uber's counsel where you characterized                12:22:49             15          MR SCHUMAN: -- you guys can take that               12:24:45
16 some of the information you got from -- that you                 12:22:52              16 up                                     12:24:46
17 were able to review from Uber as the Rosetta Stone                12:22:55             17          THE VIDEOGRAPHER: It's 12:24 p m We're                12:24:47
18 in your field?                                12:22:57                                 18 going off the record                        12:24:49
19         Do you remember that --                       12:22:59                         19          (A break was taken from 12:24 p m to          12:24:51
20     A     I --                             12:22:59                                    20 12:28 p m )                               12:25:12
21     Q     -- testimony?                            12:22:59                            21          THE VIDEOGRAPHER: We are back on the                   12:28:09
22     A     -- do remember that                        12:23:00                          22 record It's 12:28 p m                           12:28:09
23     Q     And -- and what is the information again             12:23:01                23      Q    (BY MR SCHUMAN) Mr Wagner, did either                 12:28:15
24 that you characterize as being the Rosetta Stone in             12:23:03               24 the Quinn firm or Waymo ask you or your firm to               12:28:17
25 your field?                                  12:23:05                                  25 prepare any damages opinions specific to my client,          12:28:22
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